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                      IN FEDERAL DISTRICT COURT FOR THE
7
                WESTERN DISTRICT OF WASHINGTON – SEATTLE
8

9    SHAKLEE & OLIVER, P.S., and
     JONATHAN SHAKLEE,
10                                               No. 2:20-cv-00806
                      Plaintiffs,
11
          v.                                     COMPLAINT UNDER THE
                                                 FREEDOM OF INFORMATION
12   U.S. CITIZENSHIP AND                        ACT
     IMMIGRATION SERVICES,
13
                       Defendant.
14

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16                                  I. INTRODUCTION

17   1.    This is an action under the Freedom of Information Act (“FOIA”) to

18   compel United States Citizenship and Immigration Services (“USCIS”) to

19   respond to requests for immigration records to which it has unlawfully failed to

20   timely respond as mandated by FOIA.

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1                            II. JURISDICTION AND VENUE

2    2.     The Eastern District of Washington has jurisdiction over this pursuant to

3    5 U.S.C. § 552(a)(4)(B).

4    3.     Venue is proper under 5 U.S.C. § 552(a)(4)(B) and because a substantial

5    portion of the events occurred in the District.

6    4.     The Plaintiff is deemed to have exhausted her administrative remedies

7    as the Defendant failed to timely respond to the FOIA requests. 5 U.S.C. §

8    552(a)(6)(C)(i).

9                                     III. PLAINTIFFS

10   9.        Plaintiff Shaklee & Oliver, PS, is a professional limited liability

11   corporation registered and doing business in the State of Washington.

12   10.       Plaintiff’s principal place of business is 823 3rd Ave Suite 206, Seattle,

13   Washington 98104.

14   11.       Plaintiff practices law primarily in the area of U.S. immigration law.

15   12.       Jonathan Shaklee is an attorney licensed to practice law in the State of

16   Washington.

17   13.       Mr. Shaklee is employed by Shaklee & Oliver, P.S.

18   14.       Mr. Shaklee resides in Kennewick, Washington.

19   15.       Mr. Shaklee was the requestor in each of the FOIAs at issue in the case

20   at bar.

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1                                    IV. DEFENDANT

2    16.      USCIS is an agency within the Department of Homeland Security

3    (DHS).

4    17.      Upon information and belief, USCIS has within its possession the

5    records requested in Plaintiffs’ FOIA requests.

6                             V. FACTUAL ALLEGATIONS

7    18.      Alien Files, or A-Files, are individual files identified by a subject’s Alien

8    Registration Number (“A-Number),

9    19.      An A-Number is a unique personal identifier assigned to a non-citizen.

10   20.      A-Files became the official file for all immigration and naturalization

11   records created or consolidated since April 1, 1944.

12   21.      Before the inception of USCIS on March 1, 2003, A-Files were

13   maintained by the Immigration and Naturalization Service (“INS”)

14   22.      USCIS now maintains both A-Files created since March 1, 2003, as well

15   as A-Files previously created by legacy INS.

16   23.      With the possible exception of discovery litigation, a FOIA request is an

17   individual’s only means of obtaining records contained in his/her A-File.

18   24.      In many contexts, U.S. immigration lawyers cannot provide legal

19   representation that comports with the standard of care without obtaining a

20   client’s A-File.

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1    25.     On March 5, 2020, Mr. Shaklee lodged a FOIA request with USCIS

2    (hereinafter “FOIA Request *6091”). USCIS assigned this request control

3    number NRC2020046091.

4    26.     On March 26, 2020, Mr. Shaklee lodged a FOIA request with USCIS

5    (hereinafter “FOIA Request *8608”). USCIS assigned this request control

6    number NRC2020058608.

7    27.     On March 27, 2020, Mr. Shaklee lodged a FOIA request with USCIS.

8    USCIS assigned this request control number NRC 2020059168 (hereinafter

9    “FOIA Request *9168”).

10   28.     Mr. Shaklee filed each of the above FOIA requests in the course of

11   representing a corresponding immigration client of his.

12   29.     In each of the above requests, Mr. Shaklee requested a copy of the

13   corresponding client’s A-File from USCIS.

14   30.     Mr. Shaklee filed each of the above requests because he determined

15   that obtaining a client’s A-File was necessary to provide legal representation

16   that comported with the standard of care for that client.

17   31.     Defendant is required to respond to a FOIA request within 20 business

18   days. 5 U.S.C. § 552(a)(6)(A)(i).

19   32.     The 20-day response deadline may be extended by no more than 10

20   business days in the event that the agency notifies the requester in writing of

21   the existence of “unusual circumstances.” 5 U.S.C. § 522(a)(6)(B)(i).



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1    33.      More than 30 business days have elapsed since FOIA Request *6091

2    was filed.

3    34.      To date, Defendant has failed to respond to FOIA Request *6091, save

4    for its receipt letter.

5    35.      Defendant has not notified the requester in writing that “unusual

6    circumstances” warrant an extension of its response period in regards to FOIA

7    Request *6091.

8    36.      Defendant has failed to timely respond to FOIA Request *6091.

9    37.      More than 30 business days have elapsed since FOIA Request *8608

10   was filed.

11   38.      To date, Defendant has failed to respond to FOIA Request *8608, save

12   for its receipt letter.

13   39.      Defendant has not notified the requester in writing that “unusual

14   circumstances” warrant an extension of its response period in regards to FOIA

15   Request *8608.

16   40.      Defendant has failed to timely respond to FOIA Request *8608.

17   41.      More than 30 business days have elapsed since FOIA Request *9168

18   was filed.

19   42.      To date, Defendant has failed to respond to FOIA Request *9168, save

20   for its receipt letter.

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1    43.     Defendant has not notified the requester in writing that “unusual

2    circumstances” warrant an extension of its response period in regards to FOIA

3    Request *9168.

4    44.     Defendant has failed to timely respond to FOIA Request *9168.

5    45.     As a result of Defendant’s unlawful delay Plaintiffs have been

6    prejudiced in his ability to provide legal representation to their clients.

7    46.     As a result of Defendant’s unlawful delay Plaintiffs have incurred

8    damages, including lost time and income of Mr. Shaklee.

9                               VII. CLAIM FOR RELIEF

10   1 – Violation of FOIA.

11   47.     Plaintiffs re-alleges and incorporates all paragraphs above as though

12   fully stated herein.

13   48.     Defendant is obligated under 5 U.S.C. § 552(a)(3) to conduct a

14   reasonable search for records responsive to A-File FOIA requests and to make a

15   determination concerning each request within the time period set forth in 5

16   U.S.C. § 552(a)(6)—20 business days, to be extended by no more than 10

17   business days in the event that the agency notifies the requester in writing of

18   the existence of “unusual circumstances.” 5 U.S.C. § 522(a)(6)(B)(i).

19   49.     Defendant failed to make its determination concerning Plaintiffs’ FOIA

20   request within the time allotted by the FOIA statute.

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1    50.     Defendant has no legal basis for its failure to timely respond to

2    Plaintiff’s FOIA request.

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4                           VIII. REQUEST FOR RELIEF

5    Plaintiff requests the following relief from the Court:

6    A.    Judgment in its favor and against Defendant;

7    B.    An order enjoining Defendant from further delay in its response to

8    Plaintiff’s FOIA request;

9    C.    An order compelling Defendant to respond to Plaintiff’s FOIA request

10   within 5 business days of judgment in this matter;

11   D.    An award of reasonable attorney per 5 U.S.C. § 552(a)(4)(E)(i);

12   E.    An award of reasonable litigation costs per 5 U.S.C. § 552(a)(4)(E)(i). and

13   F.    Grant such further relief as the Court deems just and proper.

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1    Respectfully submitted this 29th day of May 2020,

2    Sound Immigration

3    /s/Greg McLawsen
     Greg McLawsen
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     (855) 809-5115 | greg@soundimmigration.com
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7
     Physical address (does not accept mail):
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     Tacoma, WA 98405
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